                                      ȱ
                                      ȱ
                                      ȱ
SO ORDERED.
                                      ȱ
SIGNED this 20th day of August, 2021. ȱ
                                      ȱ
                                      ȱ
                                      ȱ
                                      ȱ
                                      ȱ
                                      ȱ
____________________________________________________________________________
                                      ȱ
                                      ȱ
                                      ȱ
                                      ȱ
                INȱTHEȱUNITEDȱSTATESȱBANKRUPTCYȱCOURTȱ
                        FORȱTHEȱDISTRICTȱOFȱKANSASȱ
                                      ȱ
  ȱ
  Inȱre:ȱ ȱ ȱ                           CaseȱNo.ȱ20Ȭ20786ȱ
  THEȱYOUNGȱMENS’SȱCHRISTIANȱ           Chapterȱ11ȱ
  ASSOCIATIONȱOFȱTOPEKA,ȱKANSAS,ȱ ȱ
                    Debtor.ȱ
ȱ
                 ORDERȱCOMBINEDȱWITHȱNOTICEȱTOȱCREDITORSȱ ȱ
                         ANDȱOTHERȱPARTIESȱINȱINTERESTȱ
                                                ȱ
NoticeȱisȱherebyȱgivenȱthatȱtheȱDebtorȱhasȱfiledȱaȱSecondȱAmendedȱSubchapterȱVȱ–ȱSmallȱ
BusinessȱDebtorȱReorganizationȱPlanȱDatedȱJulyȱ1,ȱ2021ȱ(“Chapterȱ11ȱPlan”).ȱ
ȱ
Theȱ Honorableȱ Daleȱ L.ȱ Somers,ȱ Unitedȱ Statesȱ Bankruptcyȱ Judge,ȱ hasȱ directedȱ thatȱ allȱ
creditorsȱlistedȱandȱthoseȱnotȱlistedȱbutȱfilingȱclaimsȱherein,ȱandȱtheȱUnitedȱStatesȱTrusteeȱ
beȱnoticedȱandȱsuppliedȱaȱcopyȱofȱtheȱChapterȱ11ȱPlan.ȱ
ȱ
AnȱevidentiaryȱhearingȱwillȱbeȱheldȱonȱOctoberȱ19,ȱ2021ȱbeginningȱatȱ1:30ȱp.m.ȱbeforeȱtheȱ
UnitedȱStatesȱBankruptcyȱCourt,ȱ500ȱStateȱAvenue,ȱCourtroomȱ144,ȱKansasȱCity,ȱKansas,ȱ
atȱwhichȱtimeȱtheȱDebtorȱorȱitsȱrepresentativeȱmustȱpersonallyȱappear.ȱ
ȱ
AllȱobjectionsȱtoȱtheȱChapterȱ11ȱPlanȱshouldȱbeȱfiledȱwithȱtheȱClerkȱofȱtheȱBankruptcyȱ
Court,ȱ500ȱStateȱAvenue,ȱRoomȱ161,ȱKansasȱCity,ȱKansasȱ66101ȱonȱorȱbeforeȱOctoberȱ1,ȱ
2021ȱandȱservedȱuponȱcounselȱforȱtheȱDebtor.ȱ




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InȱTheȱU.S.ȱBankruptcyȱCourtȱforȱtheȱDistrictȱofȱKansasȱ
Inȱre:ȱ ȱ TheȱYoungȱMen’sȱChristianȱAssociationȱofȱTopeka,ȱKansasȱ
Chapterȱ11ȱBankruptcyȱCaseȱNo.ȱ20Ȭ20786Ȭ11ȱ
ORDERȱCOMBINEDȱWITHȱNOTICEȱTOȱCREDITORSȱANDȱOTHERȱPARTIESȱINȱINTERESTȱ ȱ
Pageȱ2ȱ

ȱ
Octoberȱ 1,ȱ 2021ȱ isȱ fixedȱ asȱ theȱ lastȱ dayȱ forȱ receiptȱ ofȱ acceptancesȱ orȱ rejectionsȱ ofȱ theȱ
Chapterȱ11ȱPlan.ȱAllȱballotsȱmustȱbeȱreceivedȱatȱtheȱaddressȱlistedȱonȱtheȱballotȱpriorȱtoȱ
5:00ȱp.m.ȱprevailingȱCentralȱTimeȱonȱthatȱdateȱtoȱbeȱcounted.ȱ
ȱ
OnȱorȱbeforeȱSeptemberȱ3,ȱ2021ȱthereȱshouldȱbeȱmailedȱtoȱallȱpartiesȱinȱinterest,ȱorȱpartiesȱ
requiredȱtoȱreceiveȱnoticeȱbyȱtheȱCode,ȱaȱcopyȱofȱthisȱNotice,ȱtheȱChapterȱ11ȱPlan,ȱandȱ
appropriateȱformsȱforȱtheȱacceptanceȱorȱrejectionȱofȱtheȱChapterȱ11ȱPlan.ȱAȱcertificateȱofȱ
serviceȱ mustȱ beȱ filedȱ withȱ theȱ Courtȱ noȱ laterȱ thanȱ Septemberȱ 7,ȱ 2021,ȱ andȱ aȱ ballotȱ
summaryȱnoȱlaterȱthanȱOctoberȱ12,ȱ2021.ȱ
ȱ
TheȱCourtȱsetsȱtheȱVotingȱRecordȱDateȱforȱtheȱSeriesȱ2011AȱBondsȱatȱAugustȱ26,ȱ2021.ȱ
ȱ
ȱ      ȱ       ȱ        ȱ      ȱ         ȱ      ȱ        #ȱ#ȱ#ȱ ȱ
ȱ
SUBMITTEDȱBY:ȱ ȱ
ȱ
HINKLEȱLAWȱFIRMȱLLCȱ
ȱ
/s/ȱW.ȱThomasȱGilmanȱ          ȱ         ȱ
W.ȱThomasȱGilman,ȱ#11867ȱ
1617ȱN.ȱWaterfrontȱParkway,ȱSuiteȱ400ȱ ȱ
Wichita,ȱKSȱ67206Ȭ6639ȱ ȱ
Phone:ȱ(316)ȱ267Ȭ2000ȱ/ȱFax:ȱ(316)ȱ660Ȭ6522ȱ ȱ
Email:ȱ ȱ tgilman@hinklaw.comȱ ȱ
AttorneysȱforȱDebtorsȱ




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                                                              United States Bankruptcy Court
                                                                    District of Kansas
In re:                                                                                                                 Case No. 20-20786-DLS
The Young Men's Christian Associati                                                                                    Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1083-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 20, 2021                                               Form ID: pdf020                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 22, 2021:
Recip ID                 Recipient Name and Address
db                     + The Young Men's Christian Association of Topeka, K, 3635 S.W. Chelsea Drive, Topeka, KS 66614-3971

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 22, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 20, 2021 at the address(es) listed
below:
Name                               Email Address
Christopher Allman
                                   on behalf of Creditor Internal Revenue Service chris.allman@usdoj.gov USAKS.ecfkcbank@usdoj.gov,caseview.ecf@usdoj.gov

Christopher T. Borniger
                                   on behalf of U.S. Trustee U.S. Trustee christopher.t.borniger@usdoj.gov ustpregion20.wi.ecf@usdoj.gov

Nicholas R Grillot
                                   on behalf of Debtor The Young Men's Christian Association of Topeka Kansas ngrillot@hinklaw.com,
                                   dwalton@hinklaw.com;thohstadt@hinklaw.com

R. Patrick Riordan
                                   on behalf of Interested Party CoreFirst Bank & Trust riordan@rfsblaw.com

Richard A Kear
                                   on behalf of U.S. Trustee U.S. Trustee richard.kear@usdoj.gov

Robbin L Messerli



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District/off: 1083-2                                      User: admin                                                          Page 2 of 2
Date Rcvd: Aug 20, 2021                                   Form ID: pdf020                                                     Total Noticed: 1
                          rob.messerli@gunrockvp.com

Robbin L Messerli
                          on behalf of Trustee Robbin L Messerli rob.messerli@gunrockvp.com

Sarah B Macke
                          on behalf of Creditor Internal Revenue Service sarah.macke@usdoj.gov
                          michelle.lies@usdoj.gov;phyllis.creed@usdoj.gov;CaseView.ECF@usdoj.gov

Sharon L. Stolte
                          on behalf of Creditor Constellation NewEnergy Gas Division LLC sstolte@sandbergphoenix.com

U.S. Trustee
                          ustpregion20.wi.ecf@usdoj.gov

W. Thomas Gilman
                          on behalf of Debtor The Young Men's Christian Association of Topeka Kansas tgilman@hinklaw.com, thohstadt@hinklaw.com


TOTAL: 11




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